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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                          NORTHERN DIVISION

MICHAEL A. CERVANTES                                                       PLAINTIFF


v.                           No: 3:20-cv-00236 DPM-PSH


JOYCE DOBBS, et al.                                                    DEFENDANTS

                                        ORDER

      Having reviewed Plaintiff Michael A. Cervantes’ amended complaint (Doc.

No. 4) for screening purposes,1 it appears that service is appropriate with respect to

defendants Sergeant Joyce Dobbs, Jail Administrator Debbie Burusen, Jailer JL

McCleskey, Jailer James Johnson, Deputy Marcus Keller, Sheriff Jeff Yates, and

Deputy James Harrison. The Clerk of the Court shall prepare summonses for these

defendants and the United States Marshal is hereby directed to serve a copy of the

amended complaint (Doc. No. 4) and summons on these defendants without

prepayment of fees and costs or security therefor. Service should be attempted

through the Lawrence County Sheriff’s Office.2


      1
        The Prison Litigation Reform Act (PLRA) requires federal courts to screen
prisoner complaints seeking relief against a governmental entity, officer, or employee.
28 U.S.C. § 1915A(a).
      2
        If the defendants are no longer County employees, the individual responding to
service must file a SEALED Statement providing the unserved defendant’s last known
private mailing address.
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IT IS SO ORDERED this 21st day of October, 2020.




                             UNITED STATES MAGISTRATE JUDGE




                               2
